  Methodist Server p20 9/3/2021 1:17:54 PM                       PAGE        1/003        Fax Server
         Case 4:21-cr-00009 Document 234-36 Filed on 12/03/21 in TXSD Page 1 of 3




                             m an`o*~
         Houston MethodietHospital
         Health Information Management
         O505 Fannin Street, 8T520
         Houston, TX77O3O
         Phone: 713-441-2401
         Fax: 713-790-3450


         Fax Transmission Cover
         September 3, 2021

         Michao|VVe|mer
         224 West 30th Street Suite 806
         New York, NY1OOO1
         Phone Number: 212'535'9286
         Fax Number: 212'535'3250

         Subject: Request to obtain medical records

         Records of: Robert Brockman
         Patient Medical Record Number: 0037O8003
         Release ID: 88224580


         Attached you will find documentation regarding your request for medical records. Should you
         have any questions regarding your request, please contact us using the above contact number.

         Sincerely,

         O HunaHenderson
         Release ofInformation
         Health Information Management


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                                                 DX-46, page 1 of 3
    Methodist Server P20 9/3/2021 1:17:54 PM                                                                                                   PAGE                    2/003                     Fax Server
                               Case 4:21-cr-00009 Document 234-36 Filed on 12/03/21 in TXSD Page 2 of 3


 ,.            .„                                                                   Houston Methodist Hospital                                           Brockman, Robert T
   t                       _            r                                           6565 FANNIN                                                          M RN: 003768603, DOB:                                                   , Sex: M
        ~             .:            UISNL                                           HOUSTON TX 77030                                                     ADM: 9/2/2021, D/C: 9/2/2021


                                                      IQ~L~aI
I maging/Tests
    Neurology
   ... ................ ................ ................ ................ ............... ............... ............... ............... ............... ............... ............... ............... ............... ............... ............... ....
           Outpatient EEG [443074674](Final result)
                                    System, Provider Not In                                                                                                                                                                                    Completed
                   Ordering in Verbal with readback mode                                                                                         . .,,...t;c :-,n              Roy, Mable
            This order may be acted on in another encounter.
                           Roy, Mable 08/23121 1020                                                                                                             eti ,,..
                                                                                                                                                                    System, Provider Not In
                          Welner, Michael, MID                                                                                                              nnodeVerbal with readback
                        Routine Once 09/02/21 1032 - 1 occurrence                                                                                      Ancillary Performed
                                                                                                                                                            Final result
                                     Roy, Mable 9/212021 10:32 AM
                  -"s;e
            Encephalopathy [G93.40]
            Delirium, puerperal [1- 05]
              Questionnaire
                                                                                                                                            Answer
                  Clinical Indication                                                                                                       Other
                  Specify ... .     ....                   ............ .,     ....................                                         fo5,893.40      ».......                                                                           _..... ............»
                  Testing Location.                                                                   .».                                    n Neurophysiology Dept
                  Testing Duration:                                                                                                         Over 1 Hour

                 Outpatient            EEG
                 ......... . ..............      [443074674]
                                            . ..............                                                                                                          Resulted:
                                                             . .............. . .............. . .............. . .............. . .............. . .............. . ..............     09/02/21
                                                                                                                                                                                    ................      2302, ................
                                                                                                                                                                                                     ................ Result status:             Final.............
                                                                                                                                                                                                                                       ................    result
                 .....................................................................................................................................................................................................................................................
                                     tin„,,,i;:~,;. System, Provider Not In 09/02/21 1032                                                    :`:d .. ..,....,.. Completed
                                     by Ma, Brandy Boyee, MID                                                                                                  Ma, Brandy Boyee, MD 09/02/21 2305
                                         09/02/21 1227 - 09/02/21 1227

                   VIDEO-EEG RECORDING AWAKE & DROWSY - EXTENDED > 1 HOUR

                   Date of Service:09/02/21


                  Patient Name: Robert T Brockman
                  M RN# 003768603
                  Date of Birth:
                  Attending MD: Brandy Ma, MD


                  Technique: Recordings were obtained using a standard international 10-20
                  electrode placement supplemented with a single electrocardiogram chest
                  electrode. The recordings were obtained using a reference electrode and
                  reformatted digitally into sequential bipolar and referential montages for
                  review.

                  I ndication 80 y.o. year old male referred for video-EEG to evaluate for
                  seizures.

                   Findings

                  Background: The background is continuous, composed of predominantly alpha
                  a nd theta frequencies, with normal voltages and fair anterior to posterior
                  organization. There is a reactive posterior dominant rhythm of 7 Hz.

                  With drowsiness, there is the expected attenuation of the posterior
                  dominant rhythm. Sleep is not captured.

                  H yperventilation: was not performed
                  Photic stimulation: was performed with no evidence of photic driving

                   I nterictal There are no epileptiform discharges or seizures captured.


Generated by 1018560 at 9/3/21 1:16 PM                                                                                                                                                                                                                      Page 1


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                                                                                                               DX-46, page 2 of 3
   Methodist Server P20 9/3/2021 1:17:54 PM                                                                                 PAGE                 3/003                    Fax Server
                   Case 4:21-cr-00009 Document 234-36 Filed on 12/03/21 in TXSD Page 3 of 3


                                                                      Houston Methodist Hospital                                     Brockman, Robert T
                                                                      6565 FANNIN                                                    M RN: 003768603, DOB:                                             , Sex: M
                                        iL                            HOUSTON TX 77030                                               ADM: 9/2/2021, D/C: 9/2/2021

                       09/0212"0'1..-'LEC'                                 'NY$:IOLGGY in,..HM~H...N.E,,U,R.0,PH.YS.IOLO,GY..(.conti~nued),,,.,,,,,.,
                                                                                                        .. .......... --
                                                                                                                      ..........
I maging/Tests (continued)

         I mpression:
         This is a mildly abnormal Video-LEG study characterized by diffuse slowing
         of the background, a non-specific indicator of global cerebral
         dysfunction. There are no epileptiform discharges or seizures captured.


         Brandy Ma, MID

         I CD-10 Code R569


                                                                                                                          Chargeables
                                                                                                                               ..............
            LEG MONITORING EXTENDED > 1 FIR [NEU162]


          I ndications
              Encephalopathy [G93.40 (ICD-10-CM)]
              Delirium, puerperal [F05 ('!CD-10-CM)]

          Signed
              Electronically signed by Ma, Brandy Boyee, MID on 9/2/21 at 2305 CDT

          Order History                                                                                                                                                                                                  Inpatient
               Date/Time                           Action Taken                                  User                                                       Additional Information
              09/02/21          1032
             ......................................R..e. lea  s
                                                     .. . ......e                                Roy,                                                        From       Order: 4430(466(.................................................
                                                                                                                                                              .......I....................................
              09J02121
            .........
            .........__         1302
                      ....................
                          ............ __.........Result....................................
                                           ............
                                                   ............                                   Miller,
                                                        __ ............ _ .............. _ ..............
                                                                                                  ............Orlando
                                                                                                          _ ..............
                                                                                                              ...............
                                                                                                                           _.................................
                                                                                                                              .............. _ ........      In process
              09J02/21 2302                        Result                                         Ma, Brandy Boyee, MID                                      Final




                                                                                        End of Report




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                                                                                              DX-46, page 3 of 3
